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                             Exhibit C
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                                  Edward J. Reich                                               Dentons US LLP
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                                                                                                   dentons.com




December 28, 2020


VIA EMAIL

Sang Joon Sim
Sim & Record, LLP
42-40 Bell Boulevard, Suite 602
Bayside, New York 11361

Re:     Dardashtian, et al. v. Gitman, et al., Case No. 17 CV 4327 (LLS)(RWL)

Dear Mr. Sim:

I am the General Counsel of Dentons US LLP (“Dentons”), former counsel to your clients Accel
Commerce, LLC, Channel Reply, Inc., Dalva Ventures, LLC, David Gitman and counterclaim plaintiffs
David Gitman, individually and on behalf of Cooper Square Ventures, LLC and NDAP, LLC (the “Gitman
Parties”).

As you know, Dentons is owed a substantial amount of legal fees by the Gitman Parties, and has
previously filed a Charging Lien with the Court. (See docket entry 111). We were recently advised by
your adversary that $170,000 was being released to your attorney trust account for the purpose of paying
attorneys’ fees. As you know, we repeatedly reached out to you earlier this year on the occasion of a
prior release of $125,000 to remind you of our claim against those funds and that you have an ethical
duty under RPC 1.15 to preserve those funds in light of Dentons’ claim. You failed to respond to multiple
attempts to reach you.

Please immediately confirm that all of the funds that have been disbursed remain in your attorney trust
account, pending resolution of Dentons’ claim. Absent confirmation, we will be forced to seek relief from
the Court.

I look forward to hearing from you promptly. We reserve all rights and remedies.

                                                             Very truly yours,



                                                             Edward J. Reich
                                                             General Counsel

ER:bt


cc:     Brendan E. Zahner
